                Case 2:15-cv-00608-CW Document 16 Filed 09/29/16 Page 1 of 1




                               United States District Court
                                             Central Division for the District of Utah


JESUS MUNGUIA,
                                   Plaintiff,                     JUDGMENT IN A CIVIL CASE
v.

MASTER CLEANING,                                                          Case Number: 2:15CV608 CW

                                   Defendant.




           IT IS ORDERED AND ADJUDGED


           that Plaintiff’s case is dismissed.


September 29, 2016                                            D. Mark Jones
Date                                                          Clerk of Court




                                                              (By) Deputy Clerk

AO 450 (Rev.5/85) Judgment in a Civil Case
